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                                    UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF OKLAHOMA

                                               TRANSMITTAL SHEET
                                              (Notice of Appellate Action)


   Date Notice filed: 04/30/2025

   Style of Case: Stephens v. Child Support Services of Oklahoma Department of Human Services
   et al

   Appellant: Linh Tran Stephens

   District Court No: 24-cv-00216-JDR-CDL

   Tenth Circuit Case No: 25-05063

   ☒ Amended NOA                                        ☐ Cross Appeal

   ☐ Interlocutory Appeal                               ☐ Successive Petition (2254 or 2255) (no fee)

   Notice of appeal is enclosed to all parties (except to appellant in civil cases); Notice of Appeal,
   docket entries and district court order are enclosed to 10 th Circuit Court of Appeals:

    John D. Russell, U.S. District Judge:

                                APPEAL FILED BY PRO SE
                                Appeal Fee Paid                                      ☐
                                IFP Granted                                          ☐
                                Motion for IFP on Appeal Form Mailed/Given           ☒
                                Motion for IFP on Appeal Filed                       ☐
                                APPEAL FILED BY COUNSEL
                                Appeal Fee Paid                                      ☐
                                IFP Granted                                          ☐
                                Motion for IFP on Appeal Form Made Available         ☐
                                Motion for IFP on Appeal Filed                       ☐
                                Court Appointed Counsel (CJA/FPD)                    ☐
                                USA                                                  ☐


   By: A. Nance, Case Administrator                            April 30, 2025 Phone: (918) 699-4700

   Notice of Appellate Action                                                                   AP-01 (6/2022)
